            8:07-cr-00417-JFB-FG3                      Doc # 84         Filed: 01/30/12             Page 1 of 1 - Page ID # 288
AO 247 (06/09) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582 (c) (2)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                            DistrictDistrict
                                                       __________    of Nebraska
                                                                             of __________

                     United States of America                                )
                                v.                                           )
                        Ricky Gene Jackson                                   )   Case No: 8:07CR417
                                                                             )   USM No: 15815-047
Date of Previous Judgment:                      05/09/2008                   )   Shannon P. O'Connor
(Use Date of Last Amended Judgment if Applicable)                            )   Defendant’s Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ✔    u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the sentencing factors set forth in 18 U.S.C. §
3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
       u DENIED. u  ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 70            months is reduced to 60                         .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    21              Amended Offense Level:                                                       15
Criminal History Category: V               Criminal History Category:                                                   V
Previous Guideline Range:  70 to 87 months Amended Guideline Range:                                                     60       to    months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
✔
u The reduced sentence is within the amended guideline range.
u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
u Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                       05/09/2008      shall remain in effect.
IT IS SO ORDERED.

Order Date:                   01/27/2012                                                             s/ Joseph F. Bataillon
                                                                                                          Judge’s signature


Effective Date:               01/30/2012                                                    Joseph F. Bataillon, U.S. District Judge
                      (if different from order date)                                                    Printed name and title
